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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION AT LONDON

                                      Electronically Filed

DAVID WILSON, as Administrator of the
Estate of Lisa Noble, Deceased, Plaintiff
                                                  C.A. No.: 6:17-157-KKC
VS.
                                                 JOINT STATUS REPORT OF THE
                                                 PARTIES
BEACON TRANSPORT, LLC and
TERRAN COOPER, Defendants




       Come the parties, jointly by counsel, in response to the Court’s Order for Meeting and

Report at Docket No. 9, stating:

   1. Attorneys Tim Lange for Plaintiff and Harlan Judd for Defendants have conferred

       pursuant to rule 26(f).

   2. Initial Disclosures. The parties will serve Rule 26(a) initial disclosures within 14 days

       of filing of this report.

   3. Proposed Discovery Plan. The parties anticipate the need for discovery on the issues of

       liability, damages and defenses asserted. The parties expect that written discovery,

       production of documents, depositions of parties and witnesses, and expert reports will be

       necessary. The parties propose the following discovery schedule:

           a. Fact discovery commencement upon filing of this report.

           b. Fact discovery deadline: April 1, 2018.
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          c. Plaintiffs’ expert disclosures deadline: June 1, 2018.

          d. Defendants’ expert disclosures deadline: August 15, 2018.

          e. Expert discovery deadline: October 15, 2018.

   4. Dispositive Motion Deadline: January 1, 2019

   5. Alternative Dispute Resolution. The parties are in need of discovery to assess the

      possibility of promptly settling or resolving the case. At the close of discovery or

      otherwise as the parties may agree, the parties are amenable to attempting mediation.

   6. Other Items:

          a. All limitations on discovery set forth in the Federal Rules of Civil Procedure

              apply unless leave is moved for supplemental discovery.

          b. The parties do not consent to the magistrate judge for all further proceedings.

          c. The parties will produce privilege logs for any documents withheld as privileged.

          d. The parties jointly request a jury trial.

          e. The parties will both identify and produce all documents identified in their rule

              26(a) initial disclosures.

          f. The parties have requested retention of cell phones and electronics in use in the

              tractor-trailer involved in the crash. The parties will desire to examine the cell

              phones and electronics in issue. Given the circumstances of the crash, whether

              Plaintiff or Defendant Cooper was using a phone at the time of the crash is a

              subject that both parties intend to pursue in discovery. Defendant Cooper took

              photographs at the scene of the crash. It is believed that he may have taken video

              as well according to bystanders as Plaintiff was dying. The parties will need to

              draft a protocol for how the electronics may be accessed and the data protected.



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         g. The parties estimate the length of trial at 8 (eight) days.

         h. Dates mutually convenient for trial: Spring of 2019.



                                            Respectfully submitted,


                                            Harlan E. Judd, III
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                                            ATTORNEY FOR DEFENDANTS


                                            and


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                                            By: /s/Timothy D. Lange___________
                                                ATTORNEYS FOR PLAINTIFF




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                                          CERTIFICATE

          It is hereby certified that on August 8, 2017 the foregoing was filed with the Clerk of the

Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel of

record.



                                                /s/ Timothy D. Lange
                                                TIMOTHY D. LANGE




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